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    7

    8                       UNITED STATES DISTRICT COURT
    9                     CENTRAL DISTRICT OF CALIFORNIA
   10

   11 RADICAL INVESTMENTS, LTD                    Case No. 2:22-cv-02752-SVW-AFMx
   12              Plaintiff,                     Hon. Stephen V. Wilson, Crtrm 10A
   13         v.
                                                  COMPENDIUM OF EXHIBITS
   14 GOOD VIBRATIONS                             PART 1A TO REQUEST FOR
        ENTERTAINMENT, LLC; ALEX LEE              JUDICIAL NOTICE IN SUPPORT
   15 MOORE, JR. a/k/a ALEX MOORE                 OF NOTICE OF MOTION AND
        a/k/a FLEX MOORE; PRESTIGE                MOTION FOR JUDGMENT ON
   16 PEGASUS, LLC; MONILADAE                     THE PLEADINGS
        COLEY a/k/a MONILADAID COLEY;
   17 CHARLES Z. STEIN, ESQ. a/k/a                Filed Concurrently with
        CHARLIE STEIN; and DAVIDOVICH             Notice of Motion and Motion for
   18 STEIN LAW GROUP, LLP,                       Judgment on the Pleadings, Request
                                                  for Judicial Notice, Compendium of
   19              Defendants.                    Exhibits Part 2 and [Proposed] Order
   20                                             DATE: July 11, 2022
                                                  TIME: 1:30 p.m.
   21                                             CRTRM: 10A
   22
                                                  Pretrial Conference: July 25, 2022
   23                                             Jury Trial:         August 9, 2022
   24

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                                 EXHIBIT “A”
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     1                            PROOF OF SERVICE
     2
         STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
     3
               At the time of Service, I was over 18 years of age and not a party to this
     4 action. I am employed in the County of Los Angeles, State of California.
         My business address is 20920 Warner Center Lane, Suite B, Woodland Hills,
     5 California 91367.

     6        On June 2, 2022, I served True copies of the following document(s) described
       as COMPENDIUM OF EXHIBITS – PART 1A - TO REQUEST FOR
     7 JUDICIAL NOTICE IN SUPPORT OF NOTICE OF MOTION AND
       MOTION FOR JUDGMENT ON THE PLEADINGS on the interested parties in
     8 this action.

     9

    10                          SEE ATTACHED SERVICE LIST
    11

    12        BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed the
       document(s) with the Clerk of the Court by using the CM/ECF system . Participants
    13 in the case who are registered CM/ECF users will be served by the CM/ECF system.
       Participants in the case who are not registered CM/ECF users will be served by mail
    14 or by other means permitted by the court rules.

    15       I declare under penalty of perjury under the law of the United States of
       America that the foregoing is true and correct and that I am employed in the office
    16 of a member of the bar of this Court at whose direction the service was made.

    17         Executed on June 2, 2022 at Woodland Hills, California.
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                                                      Rosa E. Rojas
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                                COMPENDIUM OF EXHIBITS PART 1A
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     1                                  SERVICE LIST
     2                   Radical Investment Ltd v. Good Vibrations, et al.
                              Case No.: 2:22-cv-02752-SVW-AFM
     3

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                                COMPENDIUM OF EXHIBITS PART 1A
